






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00475-CR







Amanda Hernandez Smith, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 391ST JUDICIAL DISTRICT


NO. D-08-1123-SB, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



A jury found appellant Amanda Hernandez Smith guilty of possessing more than
two&nbsp;hundred grams of cocaine with intent to deliver.  See Tex. Health &amp; Safety Code Ann.
§&nbsp;481.112(a),&nbsp;(e) (West Supp. 2009).  The jury assessed punishment at twenty years in prison.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of her right to examine the appellate record and to file a pro se brief. 
See&nbsp;Anders, 386 U.S. at 744.  No pro se brief has been filed.

We have reviewed the record and find no reversible error.  See Garner v. State,
No.&nbsp;PD-0904-07, 2009 Tex. Crim. App. LEXIS 1739, at *8 (Tex. Crim. App. Dec. 9, 2009); Bledsoe
v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  We agree with counsel that the appeal
is frivolous.  Counsel's motion to withdraw is granted. (1)

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   March 19, 2010

Do Not Publish

1.        Appellant's pro se motion for new counsel is overruled.  This Court is not authorized to appoint
counsel. 

